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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION


  In re:                                                     Case No. 09-36379-EPK
                                                             Chapter 11
  Palm Beach Finance Partners, L.P. and
  Palm Beach Finance II, L.P.,

        Debtor(s).
  __________________________________________/

  Barry E. Mukamal, as Liquidating Trustee,

           Plaintiff,
                                                             Adversary Pro. No. 11-02940-EPK
  v.

  The National Christian Charitable Foundation, Inc.,

        Defendant.
  _________________________________________/

                               NOTICE OF CROSS-APPEAL

           The National Christian Charitable Foundation, Inc., d/b/a National Christian Foundation

  (“NCF”), pursuant to 28 U.S.C. § 158(a), Fed. R. Bankr. P. 8003 and 8016, and Local Rule

  8003-1, files this Notice of Cross-Appeal to the United States District Court for the Southern

  District of Florida. NCF appeals the Bankruptcy Court’s (i) Order on Competing Motions for

  Summary Judgment as to Which State’s Law Applies to Fraudulent Transfer Claims [ECF No.

  100] (“Choice of Law Order”) and (ii) Final Judgment [ECF No. 299], which necessarily

  encompasses the earlier Choice of Law Order.

           This cross-appeal is conditional: NCF’s appeal of the Choice of Law Order need only be

  heard if the District Court reverses the Bankruptcy Court’s grant of summary judgment to NCF

  on Count 1 of the Trustee’s Complaint.
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         Copies of the Order and Final Judgment appealed from are attached as Exhibits 1 and 2,

  respectively, in accordance with Fed. R. Bankr. P. 8003(a)(3)(B).

         Part 1: Identify the [cross-]appellant.

         1.     Name of Cross-Appellant: The National Christian Charitable Foundation, Inc.,

  d/b/a National Christian Foundation.

         2.     Position of cross-appellant in the adversary proceeding that is the subject of this

  appeal: Defendant.

         Part 2: Identify the subject of this appeal.

         1.     Describe the judgment, order, or decree appealed from:

                (a)     Order on Competing Motions for Summary Judgment as to Which State’s

         Law Applies to Fraudulent Transfer Claims [ECF No. 100]; and

                (b)     Final Judgment [ECF No. 299].

         2.     State the date on which the judgment, order, or decree was entered:

                (a)     December 10, 2014; and

                (b)     March 20, 2019.

         Part 3: Identify the other parties to the appeal.

         List the names of all parties to the judgment, order, or decree appealed from and the

  names, addresses, and telephone numbers of their attorneys:

         1.     Party: Barry E. Mukamal (“Plaintiff”), in his capacity as Liquidating Trustee for

  the Palm Beach Finance Liquidating Trust and the Palm Beach Finance II Liquidating Trust.

                Counsel:

                        James C. Moon, Esq.
                        jmoon@melandrussin.com


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                      Miami, Florida 33131
                      Telephone: (305) 358-6363

        Part 4: N/A

        Part 5: Sign below.

        Dated April 15, 2019.

                                         Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

  Notice of Electronic Filing to those parties registered to receive electronic filings on this the 15th

  day of April, 2019.

                                                        By:_/s/ David J. Myers
                                                        David J. Myers




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       ORDERED in the Southern District of Florida on December 10, 2014.



                                                         Paul G. Hyman, Jr.
                                                         Chief United States Bankruptcy Judge


_____________________________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

      In re:                                           CASE NO.: 09-36379-BKC-PGH
      Palm Beach Finance Partners, L.P.                Chapter 11 (jointly administered)
      and Palm Beach Finance II, L.P.,
             Debtors.                   /

      Barry Mukamal,                                   ADV. NO.: 11-2940-BKC-PGH-A
           Plaintiff,
      v.

      The National Christian
      Foundation, Inc.,
           Defendant.                          /

        ORDER ON COMPETING MOTIONS FOR SUMMARY JUDGMENT (ECF
            NOS. 63 AND 70) AS TO WHICH STATE’S LAW APPLIES TO
                      FRAUDULENT TRANSFER CLAIMS

             THIS MATTER came before the Court upon the Motion for Partial

      Summary Judgment Regarding Choice of Law (the “Plaintiff’s Motion”) (ECF No.

      63) filed by Barry Mukamal (the “Plaintiff) and the Motion for Summary Judgment

      (the “Defendant’s Motion”) (ECF No. 70) filed by the National Christian Foundation,

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  Inc. (the “Defendant”). For the reasons discussed below, the Court grants the

  Plaintiff’s Motion and denies the Defendant’s Motion as to the choice of law issue.

                                     UNDISPUTED FACTS

         The following represent the undisputed facts1 which are relevant for the

  purposes of the Court’s choice of law analysis.

  I.     The Petters Ponzi scheme and the Debtors’ chapter 11 filing

         In 1995, Frank Vennes founded Metro Gem, Inc. (“MGI”) and was at all times

  its owner and CEO. Starting in or about 1995 and continuing through September

  2008, Mr. Vennes, through MGI, raised money from investors to invest in Petters

  Company, Inc. (“PCI”), the company founded by Thomas J. Petters. Indeed, from

  2005 through 2008, MGI’s primary business was obtaining funds from third parties

  for investment in PCI notes. The transactions underlying the PCI notes, however,

  were fictitious, and PCI’s inventory finance operation was nothing more than a

  Ponzi scheme.

         After the implosion of the Petters Ponzi scheme, Palm Beach Finance

  Partners, L.P. and Palm Beach Finance II, L.P. (the “Debtors”), both of which were

  heavily invested in PCI, filed for chapter 11 bankruptcy protection. Their chapter 11

  cases are pending in this Court, which retains jurisdiction relating thereto. See

  Case No. 09-36379-BKC-PGH (jointly administered). The offices of the Debtors were

  at all times located in Florida. The Debtors’ liquidating trusts were formed in


  1 The Plaintiff, in his Motion for Summary Judgment, and the Defendant, in its Statement of
  Material Facts in Support of Motion for Summary Judgment (ECF No. 72), each provide a statement
  of undisputed facts. The Court thus extracted the relevant undisputed facts from the facts which are
  contained in both statements.

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  accordance with a plan of liquidation filed in and confirmed by order of this Court

  and are governed by Florida law. See Case No. 09-36379, ECF No. 246; ECF No.

  246-2, p. 70; 97. The Plaintiff is a Florida resident appointed by this Court as

  liquidating trustee to oversee the liquidation of the Debtors, and his principal place

  of business is in Florida. See id.

  II.    The Defendant and its relationship with Fidelis, Vennes, and MGI

         The Defendant, which is the nation’s largest provider of donor-advised funds

  (“DAFs”), was founded in Atlanta in 1982 and was incorporated in Georgia. The

  Defendant is now, and has been at all times since its inception, a Georgia non-profit

  corporation. The Defendant has, and has always maintained, its headquarters and

  principal place of business in Georgia. The following are true as to the Defendant’s

  business operations: (1) its main operations occur in Georgia; (2) its computer

  systems are housed in Georgia; (3) it receives funds into and sends funds out of its

  bank accounts in Georgia; and (4) its Board of Directors meets at its headquarters

  in Georgia.

         Mr. Vennes and his company, MGI, were major donors to Fidelis Foundation

  (“Fidelis”). In March 2005, Fidelis opened the Fidelis Foundation Giving Fund (the

  “Fidelis Fund”) with the Defendant through an initial contribution of $400,000,

  which was deposited in the Defendant’s bank account in Georgia. Thereafter, the

  Defendant sent quarterly reports regarding the Fidelis Fund to Fidelis in

  Minnesota. In April 2005, Fidelis representatives visited the Defendant’s offices in

  Atlanta. The Fidelis representatives requested that the Defendant receive the next



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  major gift from Fidelis’s primary donor, Mr. Vennes, through a DAF to be set up by

  Mr. Vennes, and that the Defendant then distribute the gift to Fidelis based on Mr.

  Vennes’ recommendation.

         By letter dated December 30, 2005, the Defendant received, at its offices in

  Georgia, a giving fund application (the “Vennes Fund Application”) and a

  $4,000,000 MGI check to open a DAF. Upon receipt of the Vennes Fund Application,

  the Defendant opened a DAF fund titled the Vennes Charitable Fund (the “Vennes

  Fund”).

  III.   The transfers

         MGI issued the $4,000,000 check to open the Vennes Fund (the “First

  Transfer”) in December 2005. This check was drawn on MGI’s account at Eagle

  Crest Capital Bank (“ECCB”), a division of Home Federal Savings Bank, located in

  Rochester, Minnesota. The Defendant deposited the First Transfer into the

  Defendant’s contribution account at its bank in Georgia (the “NCF Account”). Less

  than a week later, the Defendant wired $3,985,000 of those initial funds to Fidelis.

         On September 27, 2006, MGI made a second transfer to the Defendant, when

  it wired $610,000 from its account at ECCB in Minnesota to the NCF Account (the

  “Second Transfer”). The next day, the Defendant wired $600,000 to Fidelis.

         On October 2, 2006, MGI made a third transfer to the Defendant, when it

  wired $400,000 from its account at ECCB in Minnesota to the NCF Account (the

  “Third Transfer”). The next day, the Defendant wired $400,000 to Fidelis.




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           On December 19, 2006, MGI made a fourth transfer to the Defendant, when

   it wired $4,000,000 from its account at ECCB in Minnesota to the NCF Account (the

   “Fourth Transfer,” and collectively with the First Transfer, the Second Transfer and

   the Third Transfer, the “Transfers”). The next day, the Defendant wired $4,000,000

   to Fidelis.

                                      CONCLUSIONS OF LAW

   I.      Jurisdiction

           The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and

   28 U.S.C. § 157.

   II.     Choice of law

           At this stage in the proceedings, the Court will only consider the choice of law

   issue2 raised in the parties’ competing Motions for Summary Judgment.3 The




   2 In accordance with its August 27, 2014, Order on Motion to Strike Portions of Defendant’s Motion
   for Summary Judgment (ECF No. 78), the Court reserves ruling on Sections II and III of the
   Defendant’s Motion for Summary Judgment until such time as the Court has ruled on the choice of
   law issue and either: (1) fact discovery as to Sections II and III has closed and the parties agree to a
   briefing schedule relating thereto; or (2) this Court, upon an appropriate motion, grants leave to seek
   summary judgment as to Sections II and III.

   3 Pursuant to Federal Rule of Civil Procedure 56(a), made applicable to bankruptcy proceedings by
   Federal Rule of Bankruptcy Procedure 7056, the Court shall grant summary judgment “if the
   movant shows that there is no genuine dispute as to any material fact and the movant is entitled to
   judgment as a matter of law.” “When deciding summary judgment, the Court may look to materials
   in the record such as depositions, documents, affidavits or declarations, and admissions.” Certain
   Interested Underwriters at Lloyd’s, London v. AXA Equitable Life Ins. Co., 10-62061-CV, 2013 WL
   5948107, at *3 (S.D. Fla. Nov. 7, 2013), as corrected (Nov. 12, 2013) (citing Fed. R. Civ. P. 56(c)). The
   Court “‘must view all the evidence and all factual inferences reasonably drawn from the evidence in
   the light most favorable to the nonmoving party.’” Diaz v. Amerijet Int’l, Inc., 872 F. Supp. 2d 1365,
   1368 (S.D. Fla. 2012) (quoting Stewart v. Happy Herman’s Cheshire Bridge, Inc., 117 F.3d 1278, 1285
   (11th Cir. 1997)); see also Morton v. Kirkwood, 707 F.3d 1276, 1280 (11th Cir. 2013). Finally, the
   moving party “always bears the initial responsibility of informing the . . . court of the basis for its
   motion, and identifying those portions of ‘the pleadings, depositions, answers to interrogatories, and
   admissions on file, together with the affidavits, if any,’ which it believes demonstrate the absence of
   a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 91

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   Plaintiff asserts that the Uniform Fraudulent Transfer Act (“UFTA”) of either

   Florida or Georgia applies to his fraudulent transfer claims. In contrast, the

   Defendant asserts that Minnesota’s UFTA applies to the Plaintiff’s fraudulent

   transfer claims. Although fundamentally, the UFTA laws of these three states are

   nearly identical, Minnesota law differs from Florida and Georgia law in one

   potentially critical way with respect to the Plaintiff’s claims.

          The Minnesota legislature amended its UFTA in 2012 to include the

   following exception from the definition of the term “transfer”:

          “Transfer” does not include a contribution of money or an asset made
          to a qualified charitable or religious organization or entity unless the
          contribution was made within two years of commencement of an action
          under sections 513.41 to 513.51 against the qualified charitable or
          religious organization or entity and:

              (i) the debtor made the charitable contribution with actual intent to
              hinder, delay, or defraud any creditor of the debtor; or

              (ii) the debtor:

                  (A) was insolvent at the time of the contribution or would be
                  rendered insolvent by reason of the contribution;

                  (B) was engaged or was about to engage in a business or a
                  transaction for which the remaining assets of the debtor were
                  unreasonably small in relation to the business or transaction; or

                  (C) intended to incur, or the charitable or religious organization
                  or entity believed or had reason to believe that the debtor would
                  incur, debts beyond the debtor's ability to pay as the debts
                  become due.

          A transfer of a charitable contribution to a qualified charitable or
          religious organization or entity is not considered a transfer covered
          under item (ii) if the amount of that contribution did not exceed 15

   L.Ed.2d 265 (1986); see also Josendis v. Wall to Wall Residence Repairs, Inc., 662 F.3d 1292, 1314-15
   (11th Cir. 2011).

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          percent of the gross annual income of the debtor for the year in which
          the transfer of the contribution was made; or the contribution exceeded
          that amount but the transfer was consistent with practices of the
          debtor in making charitable contributions.

          Transfer does include a return on investment made by a qualified
          charitable or religious organization or entity. “Qualified charitable or
          religious organization or entity” means an organization or entity
          described in United States Code, title 26, section 170(c)(1), (2), or (3).

   Minn. Stat. § 513.41(12) (hereinafter referred to as the “Minnesota’s Charitable

   Contribution Exception”). Minnesota’s Charitable Contribution Exception applies

   retroactively.4 Although Florida and Georgia both passed amendments enacting

   similar charitable contribution exceptions in 2013,5 neither Florida’s amendment

   nor Georgia’s amendment applies retroactively. Accordingly, only Minnesota’s

   Charitable Contribution Exception could potentially apply to bar the Plaintiff’s

   claims.

          Because of the difference between the laws of Florida, Georgia, and

   Minnesota, the Court must conduct a choice of law analysis and determine which

   state’s law applies to the Plaintiff’s claims. As the Court has previously held, the

   4 On April 3, 2012, the Governor of Minnesota signed into law Minnesota’s Charitable Contribution
   Exception. See 2012 Minn. Sess. Law Serv. Ch. 151 (H.F. 1384). The law provided that the
   amendment to Minn. Stat. § 513.41(12) “is effective the day following final enactment and applies to
   a cause of action existing on, or arising on or after, that date.” Id. (emphasis added).

   5 On June 14, 2013, the Governor of Florida signed into law a revision to Florida Statute §
   726.109(7), which provided a charitable contribution defense to fraudulent transfer claims. See 2013
   Fla. Sess. Law Serv. Ch. 2013-189 (C.S.H.B. 95). Similarly, on May 7, 2013, the Governor of Georgia
   signed into law § 18-2-81 of the Official Code of Georgia, which shortened the statute of limitations
   for a fraudulent transfer civil action with respect to a transfer to a charitable organization to two
   years. See 2013 Georgia Laws Act 328 (S.B. 105). However, neither law contains a provision applying
   the amendment retroactively. Pursuant to well-settled Georgia law, there must be a “clear indication
   in the statutory text that a statute is to be applied retroactively before so applying it.” Deal v.
   Coleman, 751 S.E.2d 337, 342 (Ga. 2013). The same is true under Florida law: “It is a well-
   established rule of construction that in the absence of clear legislative expression to the contrary, a
   law is presumed to operate prospectively.” State v. Lavazzoli, 434 So.2d 321, 323 (Fla. 1983).


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   “diversity jurisdiction approach” is the appropriate approach for bankruptcy courts

   to follow when determining which state’s law applies to a particular issue.6 “Under

   the diversity jurisdiction approach, bankruptcy courts borrow from the ‘law

   applicable in diversity cases to hold that the forum state’s choice of law rules are

   imposed on bankruptcy adjudications where the underlying rights and obligations

   are defined by state law.’” Dzikowski v. Friedlander (In re Friedlander Capital

   Mgmt. Corp.), 411 B.R. 434, 441-42 (Bankr. S.D. Fla. 2009) (quoting Marine

   Midland Bank v. Portnoy, (In re Portnoy), 201 B.R. 685, 697 (Bankr. S.D.N.Y. 1996)

   (citation omitted)); see also, PNC Bank, N.A. v. Rolsafe Int’l, LLC (In re Rolsafe Int’l,

   LLC), 477 B.R. 884, 902 n. 14 (Bankr. M.D. Fla. 2012). Accordingly, because this

   Court sits in Florida, Florida’s choice of law rules govern the choice of law issue now

   before the Court.

   A.     Fraudulent transfer actions sound in tort

          To begin with, the Court must establish whether, pursuant to Florida law,

   fraudulent transfer actions sound in tort, in equity, or even in contract, as different

   6 In Mukamal v. Cosmos (In re Palm Beach Finance Partners, LP.), Case No. 11-02970-BKC-PGH-A
   (ECF No. 59) (July 30, 2013), the Court noted that “[c]ourts are divided on the issue of whether
   bankruptcy courts should apply federal choice of law rules or the choice of law rules of the forum
   state when conducting a choice of law analysis.” Id. at 23 (citations omitted). The Seventh Circuit
   explained the reason behind this split:

          When a federal court sits in diversity, it generally applies the choice-of-law rules of
          the state in which it sits. . . . However, a federal bankruptcy court’s jurisdiction does
          not arise from diversity, but from federal bankruptcy law, which has a goal of
          national uniformity rather than congruence with state law. Yet state law governs the
          validity of most property rights, and except when the bankruptcy code specifies
          otherwise, bankruptcy courts must apply the relevant state law. . . .Thus, there is a
          tension as to whether bankruptcy courts follow federal common law choice-of-law
          principles or the forum state’s choice-of-law principles.

   Jafari v. Wynn Las Vegas, LLC (In re Jafari), 569 F.3d 644, 648 (7th Cir. 2009).


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   choice of law rules apply to different types of actions. This task is not as simple as it

   may first seem:

          Classification of fraudulent conveyance [actions] is not a completely
          straightforward matter. On the one hand, a claim of fraudulent
          conveyance resembles an action in tort in that the ultimate issue is not
          whether the conveyance from grantor to grantee was formally valid as
          a matter of property law, but rather whether it was done for the
          purposes of defrauding one’s creditors. . . . On the other hand, a
          number of courts have rejected this tort characterization, holding that
          fraudulent conveyance claims sound in equity because they seek the
          equitable remedy of voiding a conveyance rather than damages.

   Terry v. June, 420 F. Supp. 2d 493, 502-03 (W.D. Va. 2006) (internal citations

   omitted). To further complicate matters, the Court notes that in both Florida and

   the Eleventh Circuit, there is a surprising dearth of case law analyzing choice of law

   issues in the context of fraudulent transfer actions.7 Indeed, the Court could only

   locate three such cases, all of which are of limited value to the Court’s analysis here:

   (1) Perkins v. Champagne (In re Int’l Mgmt. Assocs., LLC), 495 B.R. 96 (Bankr. N.D.

   Ga. 2013); (2) In re Friedlander Capital Mgmt. Corp., 411 B.R. 434; and (3)

   Alexander v. Delong, Caldwell, Novotny & Bridgers, LLC (In re Terry Mfg. Co., Inc.),




   7 A 2011 article appearing in the American Bankruptcy Institute Law Review described the choice of
   law field in the context of fraudulent transfer actions as follows:

          The state of current law was succinctly summarized by a treatise which, in the
          course of a lengthy analysis of the application of fraudulent transfer law to
          securitization transactions, devoted the following paragraph to choice of law: “[T]here
          does not seem to be a universally recognized choice-of-law rule in this area.
          Consequently, it may be difficult to determine which state’s fraudulent conveyance
          law applies.” That is a discreet understatement. “Chaotic” is nearer the mark.

   Kenneth C. Kettering, Codifying a Choice of Law Rule for Fraudulent Transfer: A Memorandum to
   the Uniform Law Commission, 19 Am. Bankr. Inst. L. Rev. 319, 338-39 (2011) (quoting Securitization
   of Financial Assets § 5.05[h][1], n.732 (Jason H.P. Kravitt ed., 2d ed. 1995 & Supp. 2010)). The
   “chaotic” state of the law has not significantly improved since 2011.

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   03-32063 WRS, 2007 WL 1560087 (Bankr. M.D. Ala. May 29, 2007) vacated and

   remanded, 03-32063-WRS, 2008 WL 4493240 (M.D. Ala. Sept. 30, 2008).

          Although these three cases are of limited value to the Court’s overall choice of

   law analysis, they do indeed indicate that courts generally treat fraudulent transfer

   claims as torts for choice of law purposes. For instance, after noting that “[t]he

   parties have not identified any Georgia cases that deal with choice of law rules in

   the context of a fraudulent transfer action[] and [that] the Court’s independent

   research has not found any,” the court in In re International Management

   Associates, LLC concluded that “[i]n the context of a fraudulent transfer action

   involving an investor in a Ponzi scheme, . . . the action is more equivalent to a tort

   claim than to a contract claim.” 495 B.R. at 105. Additionally, outside of the

   Eleventh Circuit, “[a] number of courts have classified fraudulent conveyance

   claims as torts for purposes of choice-of-law issues.” S.E.C. v. Infinity Grp. Co., 27 F.

   Supp. 2d 559, 564 (E.D. Pa. 1998) (citing RCA Corp. v. Tucker, 696 F.Supp. 845,

   847, 853-54 (E.D.N.Y. 1988); In re O.P.M. Leasing Serv., Inc., 40 B.R. 380, 391-95

   (Bankr. S.D.N.Y. 1984)); see also, Warfield v. Carnie, No. 3:04-CV-633-R, 2007 WL

   1112591, at *7 (N.D. Tex. Apr. 13, 2007); Terry, 420 F. Supp. 2d at 503. The Court

   agrees with these courts and concludes that for choice of law purposes, fraudulent

   transfer actions sound in tort, as the focus of a fraudulent transfer action, like the

   focus of a traditional tort action, is the transferor’s conduct and the injury to the

   creditor.8


   8 Courts which hold that fraudulent transfers action sound in equity emphasize that fraudulent
   transfer actions seek the equitable remedy of voiding a transfer rather than damages. Terry v. June,

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   B.     Florida’s choice of law rules

          With respect to substantive choice of law issues for claims sounding in tort,

   Florida follows the “significant relationships” test outlined in the Restatement

   (Second) of Conflict of Laws (the “Second Restatement”). Judge v. Am. Motors Corp.,

   908 F.2d 1565, 1567 (11th Cir. 1990) (citing Bishop v. Fla. Specialty Paint Co., 389

   So.2d 999, 1001 (Fla. 1980)); Kirchman v. Novartis Pharm. Corp., 8:06-CV-1787-T-

   24, 2014 WL 2722483, at *1 (M.D. Fla. June 16, 2014) (“Florida applies the

   ‘significant relationships’ approach set forth in the Restatement (Second) of Conflict

   of Laws (1971) to determine choice-of-law questions for tort issues.”). However,

   before the Court begins this significant relationships analysis, the Court must

   “determine whether a conflict of laws truly exists.” Estate of Miller ex rel. Miller v.

   Thrifty Rent-A-Car Sys., Inc., 609 F. Supp. 2d 1235, 1244 (M.D. Fla. 2009) (citations

   omitted); see also, Howard v. Kerzner Int’l Ltd., 12-22184-CIV, 2014 WL 714787, at

   *1 (S.D. Fla. Feb. 24, 2014); Hoy v. Sandals Resorts Int’l, Ltd., No. 11-24580-CIV,

   2013 WL 6385019, at *3 (S.D. Fla. Dec. 6, 2013) (noting that “[a] court need only

   undertake a complete choice of law analysis if a true conflict exists”).

   C.     False conflict analysis

          The Plaintiff contends that the Defendant’s argument that Minnesota law

   applies creates only a false conflict of law. Particularly, the Plaintiff contends that

   the purported conflict is a false one because Minnesota does not have an interest in

   this proceeding as the policy underlying Minnesota’s Charitable Contribution

   420 F. Supp. 2d 493, 502-03 (W.D. Va. 2006). This Court, however, finds that this equitable
   characteristic is subordinate to primary aim of fraudulent transfer law: to compensate creditors who
   have been victimized by fraudulent conduct.

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   Exception would not be furthered by its application. The Defendant, on the other

   hand, asserts that a true conflict does indeed exist because MGI, the non-party

   transferor, is located in Minnesota, initiated the transfers from its principal place of

   business in Minnesota, and used ECCB, a bank located in Minnesota, to accomplish

   the Transfers. Notwithstanding MGI’s connections to Minnesota, the Court finds

   that a false conflict does indeed exist.

         A “false conflict” between laws can exist: (1) where the laws of the different

   states are the same; (2) where the laws of the different states are different but

   would produce the same outcome under the facts of the case; or (3) when the policies

   of one state would be furthered by application of its laws while the policy of the

   other state would not be advanced by application of its laws. Id. (citation omitted);

   Estate of Miller., 609 F. Supp. 2d at 1244 (citing Tune v. Philip Morris Inc., 766

   So.2d 350, 352 (Fla. 2d DCA 2000)). “In contrast, a true conflict exists when two or

   more states have a legitimate interest in a particular set of facts in the litigation

   and the laws of those states differ or would produce a different result.” Id. Here, the

   Plaintiff asserts that the Defendant’s contention that Minnesota law applies

   produces the third type of false conflict.

         The general policy underlying all fraudulent transfer laws is the same:

   protecting creditors from fraudulent transfers and providing creditors a means of

   redress when a fraudulent transfer occurs. MC Asset Recovery LLC v. Commerzbank

   A.G. (In re Mirant Corp.), 675 F.3d 530, 537 (5th Cir. 2012); Finn v. Alliance Bank,

   838 N.W.2d 585, 599 (Minn. Ct. App. 2013), review granted (Nov. 12, 2013). The



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   more narrow policy underlying Minnesota’s Charitable Contribution Exception,

   which is the particular law the Defendant seeks to apply here, is the protection of

   Minnesota charities from liability for certain fraudulent transfers. Minnesota’s

   Charitable Contribution Exception is an example of what the Eleventh Circuit

   Court of Appeals has described as a “loss distribution” rule.

           “Loss distribution” rules, as opposed to “conduct regulation” rules,9 “prescribe

   how liability is to be apportioned in a legal action, such as a limitation on damages.”

   Estate of Miller, 609 F. Supp. 2d at 1244 (citing Judge, 908 F.2d at 1572 n. 9). “[A]

   sovereign’s interest in applying a ‘loss-distribution’ rule turns not on the site of the

   incident but on the people involved in the incident.” Id. (emphasis added) (citing

   Judge, 908 F.2d at 1572 n. 9). Indeed, Courts routinely hold that a state’s interests

   in applying a “loss distribution” rule will not be furthered by application of that

   state’s law if the defendant is not a citizen of that state. Foster v. U.S., 768 F.2d

   1278, 1283 (11th Cir. 1985) (“Limiting potential beneficiaries limits recovery. The

   only purpose is to protect defendants. . . . Thus, a limit on recovery should not be

   applied when there is no domiciliary defendant because it advances no policy behind

   the limitation.”); Schippers v. U.S., 715 F.3d 879, 890 (11th Cir. 2013) (same);

   Walker v. Paradise Grand Hotel, Ltd., 01-3564-CIV, 2003 WL 21361662, at *5 (S.D.

   Fla. Apr. 25, 2003) aff’d, 107 F. App’x 894 (11th Cir. 2004) (concluding that because

   “Defendant is neither a domiciliary nor a resident of Maryland,” application of

   9 “Conduct regulation” rules “prescribe substantive standards for people to observe, such as a ‘rule of
   the road.’” Estate of Miller, 609 F. Supp. 2d at 1244 (citing Judge, 908 F.2d at 1572 n. 9). In contrast
   to “loss distribution” rules, a state’s interest in applying a “conduct regulation” rule will “usually be
   triggered whenever the regulated conduct or the injury occurs in the state.” Judge, 908 F.2d at 1572
   n. 9).

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   Maryland’s damages cap “would not further Maryland’s policy of protecting

   domiciliary defendants”); Janvey v. Alguire, No. 3:09-CV-0724-N, 2013 WL 2451738,

   at *3-*4 (N.D. Tex. Jan. 22, 2013), aff’d sub nom., Janvey v. Brown, 767 F.3d 430

   (5th Cir. 2014).

         Here, Minnesota’s policies would not be advanced by application of Minnesota

   law. The Defendant is not incorporated under the laws of Minnesota and does not

   have its principal place of business in Minnesota. Because Minnesota’s Charitable

   Contribution Exception is a “loss distribution” rule and because the Defendant in

   this action is not a Minnesota corporation, Minnesota’s policy of limiting the

   fraudulent transfer liability of certain defendants would not be furthered by

   application of Minnesota’s Charitable Contribution Exception. Likewise, neither the

   Plaintiff nor the Debtors have their principal place of business in or are

   domiciliaries of Minnesota. Thus, not even the general policy behind Minnesota’s

   UFTA—protecting creditors from fraudulent transfers—would be advanced by

   application of Minnesota law. Additionally, the creditors of the Debtors, who would

   ultimately benefit from any funds recovered in this adversary proceeding, are not

   predominantly located in Minnesota or any other one state. To the extent the

   Plaintiff represents these creditors, his contacts do not favor any particular state,

   and the policies of Minnesota would not be significantly advanced by application of

   Minnesota law.

         In contrast, the policies of both Florida and Georgia would be advanced by

   application of their respective laws. The same general policy underlies both



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   Florida’s and Georgia’s UFTA—protecting creditors from fraudulent transfers.

   Florida’s policy interests would certainly be advanced by application of its law as

   the Debtors, who are the purported creditors of the transferor, were Florida

   business entities and had their principal places of business in Florida. The Plaintiff,

   as the Debtors’ liquidating trustee who is tasked with pursuing the Debtors’ pre-

   petition causes of action, is also a resident of and has his principal place of business

   in Florida. Applying Florida’s UFTA to this action would advance its interest in

   protecting its domiciliaries from fraudulent transfers and providing its residents

   with a means of redress when a fraudulent transfer does occur. Furthermore,

   Georgia has an interest in applying its UFTA to this action as the Defendant is a

   Georgia domiciliary, has its principal place of business in Georgia, received the

   Transfers in Georgia, and deposited the Transfers into its bank account located in

   Georgia.

          The Defendant maintains that it is not inevitable that a false conflict exists

   when no party to the action is a resident of the state whose law is sought to be

   applied.10 The Court agrees. However, this does not change the outcome of the

   Court’s false conflict analysis in this proceeding. A state will often have an interest


   10 The Defendant also contends that the Plaintiff should be estopped from asserting that some law
   other than Minnesota applies because the Plaintiff cited Minnesota law as the operative law in his
   Complaint. However, in his Complaint, the Plaintiff cited Minnesota law “or other applicable law.”
   Not only do courts conduct their own choice of law analyses, but the Plaintiff’s citation to “other
   applicable law” was sufficient to preserve the Plaintiff’s claims against the Defendant should a law
   other than Minnesota’s apply. Court-Appointed Receiver for Lancer Mgmt. Grp. LLC v. Taubman, 05-
   60199-CIV, 2007 WL 984452, at *2 (S.D. Fla. Mar. 27, 2007) (“In the Complaint, the Receiver
   specifically alleges that the transfers are avoidable and recoverable under Florida Statutes 726 and
   ‘other applicable law’ (emphasis supplied). This allegation serves to preserve the Receiver’s claims
   against Taubman in the event the substantive law of some other state governs the Receiver’s
   claims.”).


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   in the outcome of an action even if neither the plaintiff nor the defendant is a

   resident of that state if the law sought to be applied is a conduct regulation rule, as

   each state has an interest in regulating conduct within its borders. Here, however,

   the only relevant difference between the UFTA laws of Florida and Georgia and the

   UFTA law of Minnesota is Minnesota’s Charitable Contribution Exception—a loss

   distribution rule. As noted above, a state’s interests in applying a loss distribution

   rule will not be furthered by application of that state’s law if the defendant is not a

   citizen of that state because the purpose of a loss distribution rule is to limit the

   liability of defendants.

          In support of his argument that Minnesota has an interest in the action even

   though no party to the action is a resident of Minnesota, the Defendant cites

   Chapman v. DePuy Orthopedics, Inc., 760 F.Supp.2d 1310 (M.D. Fla. 2011). In

   Chapman, the court rejected a false conflict argument in the context of a products

   liability action resulting from a defective medical device and held that Virginia had

   a legitimate interest in the action even though neither the plaintiff nor the

   defendant was a Virginia resident. 760 F.Supp.2d at 1312-13. The Chapman court,

   however, conducted only a cursory analysis,11 the entirety of which follows:

          A comprehensive conflict-of-law analysis is required if the case
          involves a true conflict between the jurisdictions with an interest in
          the case. A true conflict exists when two or more states have a
          legitimate interest in a particular set of facts in litigation and the laws
          of those states differ or would produce a different result. The Court
          finds that issues of liability and damages for patients that receive
          medical care and products in Virginia, from Virginia physicians, and

   11 In fact, it would appear from this analysis alone that the court was considering a false conflict
   issue in the context of a medical malpractice action, rather than a products liability action, in which
   the physician and the medical procedure at issue were both located in Virginia.

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         then continue to treat with those physicians in Virginia, give Virginia
         a legitimate interest in this case and its result.

   Id. at 1313 (internal citations and quotation marks omitted). The analysis is simply

   too brief to be helpful here. Moreover, the Chapman case is factually

   distinguishable. In Chapman, the plaintiff and her doctors were residents of

   Virginia at the time the medical device at issue was surgically implanted. Id. at

   1312. Additionally, the plaintiff’s “follow-up care occurred in Virginia . . . [e]ven

   after [she] moved to Florida,” and upon detection of the plaintiff’s injury, the

   plaintiff “[r]eturned immediately to Virginia to treat the injury.” Id. at 1314. In fact,

   “[t]he only significant contact with Florida is that the injury manifested itself and

   was discovered in Florida” while the Defendant was a Florida resident. Id. The

   Chapman court’s analysis would thus be instructive only if the facts here were

   different—for example, if the Debtors were residents of Minnesota at the time of the

   Transfers and only later relocated to Florida. Therefore, considering the brevity of

   Chapman’s false conflict analysis and the factual dissimilarity of Chapman to the

   matter now before the Court, the Chapman opinion is unpersuasive.

         As stated above, a false conflict of law exists when the policies of one state

   would be furthered by application of its laws while the policy of the other state

   would not be advanced by application of its laws. Here, the Court finds that a false

   conflict exists between the laws of Minnesota and the laws of Florida or Georgia

   because the policy interests of Minnesota would not be furthered by application of




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   Minnesota law,12 while the policy interests of both Florida and Georgia would be

   furthered by application of their respective laws. Because the UFTA laws of Florida

   and Georgia are not materially different and because the Defendant is a Georgia

   corporation, the Court will apply Georgia’s UFTA law to the Plaintiff’s fraudulent

   transfer actions.

   D.     The Second Restatement’s significant relationships test

          Even if Minnesota had a true interest in the matter here, the Court would

   still apply the “significant relationships” test and determine, for the reasons

   discussed fully below, that Georgia law applies.

          The “significant relationships” test outlined in the Second Restatement

   provides as follows:

          Section 145: The General Principle.

              (1) The rights and liabilities of the parties with respect to an issue
              in tort are determined by the local law of the state which, with
              respect to that issue, has the most significant relationship to the
              occurrence and the parties under the principles stated in § 6.

              (2) Contacts to be taken into account in applying the principles of §
              6 to determine the law applicable to an issue include:

                      (a) the place where the injury occurred;
                      (b) the place where the conduct causing the injury occurred;
                      (c) the domicil, residence, nationality, place of incorporation
                      and place of business of the parties; and


   12 The Court notes that even though a “false conflict” exists on the grounds that the policy of
   Minnesota would not be advanced by application of its laws, it does not mean that Minnesota is
   entirely disinterested in the matter. Indeed, the first step in a conflicts analysis is to determine
   which sovereigns are “interested” in the litigation by looking to the factors in Section 145(2) of the
   Second Restatement. Hoy v. Sandals Resorts Int’l, Ltd., No. 11-24580-CIV, 2013 WL 6385019, at *3
   (S.D. Fla. Dec. 6, 2013). It is only after a court has determined which sovereigns are interested that
   the court will move on to the false conflict step. Here, the Court assumed for the purposes of its
   analysis that Minnesota is an “interested” sovereign.

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                   (d) the place where the relationship, if any, between the
                   parties is centered.

                These contacts are to be evaluated according to their relative
                importance with respect to the particular issue.

         Section 6: Choice-of-Law Principles.

             (1) A court, subject to constitutional restrictions, will follow a
                 statutory directive of its own state on choice of law.

             (2) When there is no such directive, the factors relevant to the
             choice of the applicable rule of law include

                (a) the needs of the interstate and international systems,
                (b) the relevant policies of the forum,
                (c) the relevant policies of other interested states and the
                relative interests of those states in the determination of the
                particular issue,
                (d) the protection of justified expectations,
                (e) the basic policies underlying the particular field of law,
                (f) certainty, predictability and uniformity of result, and
                (g) ease in the determination and application of the law to be
                applied.

   Restatement (Second) of Conflict of Laws §§ 6, 145 (1971) (emphasis added). To

   apply the Second Restatement’s significant relationships test, “a court first

   examines the ‘General [Tort] Principle’ in section 145 and then uses that analysis to

   ‘inform’ the court as it applies the general choice of law principles under section 6.”

   Estate of Miller, 609 F. Supp. 2d at 1247. Because of the nature of the significant

   relationships test, courts must engage in a fact-intensive, case-by-case analysis,

   which is not as simple as “add[ing] up the factors delineated in section 145(2) and

   then apply[ing] the law of the sovereign with the greatest numerical total.” Judge,

   908 F.2d at 1568. Instead, it is the law of the state with the most significant

   contacts—not just the most contacts—which will apply.

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         i.     Section 145(2) contacts

         In contrast with standard torts such as battery and negligence, fraudulent

   transfer actions present a unique challenge for courts engaging in a significant

   relationships analysis. Due to the nature of the facts underlying fraudulent transfer

   actions and the policies underlying fraudulent transfer statutes, the relevance of

   the § 145 contacts is significantly diminished. As the Fifth Circuit Court of Appeals

   explained:

         [T]he injury in [a fraudulent transfer action] is intangible. Not only
         does this make it very difficult to assign a meaningful location to the
         injury, the commentary to the Restatement suggests that when the
         injury is intangible the importance of this factor is severely
         diminished. Cf. Restatement (Second) of Conflict of Laws § 145 cmt. e
         (1971). Similarly, . . . it [is] nearly impossible to define what conduct
         caused the injury and the place where that conduct occurred. Here, it
         is not necessary to definitively identify or locate the relevant conduct
         because constructive fraudulent transfer laws are more concerned with
         helping injured parties than deterring conduct. Cf. Restatement
         (Second) of Conflict of Laws § 145 cmt. c (1971). Because the record
         indicates that there are relevant parties in [two states], this factor does
         not favor either state. Finally, there is no one location where the
         relationship of the parties is clearly centered, and this factor is not
         particularly relevant on these facts.

   In re Mirant Corp., 675 F.3d at 537. Indeed, only one of the § 145(2) contacts—the

   domicile, residence, nationality, place of incorporation, and place of business of the

   parties—is particularly relevant to a choice-of-law analysis in the context of a

   fraudulent transfer action. Restatement (Second) of Conflict of Laws § 145(2)(c).

   Here, the Plaintiff is a resident of and has his principal place of business in Florida,

   and the Defendant is incorporated and has its principal place of business in

   Georgia.



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           ii.     Section 6 factors

           Because the § 145(2) contacts are only minimally relevant, the Court must

   focus its inquiry on the § 6 factors. Of particular importance in the fraudulent

   transfer context is the relevant policies of the forum state and the other interested

   states. In re Mirant Corp., 675 F.3d at 537. Comment h to the Second Restatement

   provides that the basic policies underlying the laws at issue are particularly

   important:

           in situations where the policies of the interested states are largely the
           same but where there are nevertheless minor differences between their
           relevant local law rules. In such instances, there is good reason for the
           court to apply the local law of that state which will best achieve the
           basic policy, or policies, underlying the particular field of law involved.

   Restatement (Second) of Conflict of Laws § 6 cmt. h.13 Accordingly, the Court

   considers each of the § 6 factors, bearing in mind the importance of the basic

   policies underling the field of fraudulent transfer law.

                   a. The basic policy underlying fraudulent transfer law

           The Court begins its significant relationships analysis by considering the

   fifth factor listed in § 6—the basic policy underlying the field of fraudulent transfer

   law.

           Minnesota’s       Charitable      Contribution       Exception       applies     retroactively.

   Although Florida and Georgia both passed amendments enacting similar charitable


   13Additionally, states which have enacted a version of the UFTA generally have also enacted a
   “uniformity of application and construction” statute, which provides that the UFTA provisions of
   that state “shall be applied and construed to effectuate its general purpose to make uniform the law
   with respect to the subject of the law among states enacting it.” See, e.g., Fla. Stat. 726.112; Cal. Civ.
   Code § 3439.11; 740 Ill. Comp. Stat. Ann. 160/12; N.J. Stat. Ann. § 25:2-33 ; Tex. Bus. & Com. Code
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   contribution exceptions in 2013, neither Florida’s amendment nor Georgia’s

   amendment applies retroactively. The majority of states which have enacted a

   version of the UFTA have either enacted a non-retroactive exception for certain

   transfers to charitable entities or have not enacted any exception for charitable

   entities.14 Because the differences between the UFTA laws of Minnesota, Georgia,

   and Florida are minor when considering the entire body of UFTA law, the fifth

   factor favors “the application of the law that best achieves the basic policy

   underlying this particular field of law.” In re Mirant Corp., 675 F.3d at 537.

          As discussed above, the basic policy underlying all fraudulent transfer laws is

   the protection of creditors from fraudulent transfers. Here, neither Georgia’s UFTA

   nor Florida’s UFTA contains a retroactive charitable contribution exception and

   either state’s law would allow the Plaintiff to prosecute his fraudulent transfer

   action. Minnesota’s Charitable Contribution Exception, on the other hand, would

   likely bar the Plaintiff from prosecuting the action if the Court were to apply

   Minnesota’s UFTA. Accordingly, application of the law of either Florida or Georgia

   would achieve the basic policy underlying fraudulent transfer law—the protection of

   creditors from fraudulent transfers—while application of the law of Minnesota

   would not.




   14 Minnesota’s Charitable Contribution Exception was made retroactive specifically to protect
   charitable entities from avoidance actions in brought in connection with the Petter Ponzi scheme,
   “which helps explain how this non-uniform amendment to the Act made it so rapidly through the
   Minnesota legislature.” Jeffrey Davis, Choosing Among Innocents: Should Donations to Charities Be
   Protected from Avoidance As Fraudulent Transfers?, 23 U. Fla. J.L. & Pub. Pol’y 407, 428 (2012)
   (emphasis added).

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                  b. The relevant policies of the forum and other interested states

         The second and third factors—(b) the relevant policies of the forum; and (c)

   the relevant policies of other interested states and the relative interests of those

   states in the determination of the particular issue—also favor application of either

   Florida or Georgia law. As to the forum state, the general policy underlying

   Florida’s UFTA is the protection of creditors from fraudulent transfers. Accordingly,

   the general policy of Florida’s UFTA would be best served by application of either

   Florida or Georgia law. Likewise, the general policies underlying both Georgia’s

   UFTA and Minnesota’s UFTA would also be best served by application of either

   Florida or Georgia law. To the contrary, application of Minnesota’s UFTA and its

   Charitable Contribution Exception would not further the general policy underlying

   any state’s UFTA law. Furthermore, as previously discussed in great detail, the

   particular policy behind Minnesota’s Charitable Contribution Exception would not

   be served by application of Minnesota law as no defendant to this action is

   domiciled in Minnesota. The second and third factors thus favor application of

   either Florida or Georgia law.

                  c. Predictability and uniformity

         Considered together, the first, fourth, sixth, and eighth factors—(a) the needs

   of the interstate and international systems; (d) the protection of justified

   expectations; (f) certainty, predictability, and uniformity of result; and (g) ease in

   the determination and application of the law to be applied—favor application of

   Georgia law.



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         “Choice-of-law rules, among other things, should seek to further harmonious

   relations between states and to facilitate commercial intercourse between them.”

   Restatement (Second) of Conflict of Laws § 6 cmt. d. Here, the needs of the

   interstate system would be best met by application of either Florida or Georgia law,

   both of which reflect the approach taken by a majority of the states. Similarly, an

   application of either Florida or Georgia law would promote the Restatement’s goal

   of uniformity of result.

         Moreover, application of Georgia law would better promote certainty,

   predictability, and ease in the determination of the law to be applied given that it is

   the law of the state in which the Defendant-transferee is incorporated and has its

   principal place of business. Applying the law of the state in which the transferee

   has its principal place of business or is domiciled promotes certainty and

   predictability for both individuals and corporations who receive transfers as

   charitable donations or otherwise. This is because these transferees would need

   only be well-versed in the laws of their own states, rather than the law of various

   other states whose law might apply several years down the road, when deciding

   whether to accept certain transfers.

         Additionally, in actions in which there are multiple transferee-defendants,

   “[e]ach transferee is entitled to a separate choice[-]of-law analysis, with a

   recognition of the transferees’ particular contacts with respect to each individual

   fraudulent transfer action.” Alguire, 2013 WL 2451738, at *3. Because, in the

   context of fraudulent transfer actions, the injury is intangible and the focus is



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   generally not on the actions of the defendant-transferee or the relationship between

   the plaintiff-creditor and the defendant-transferee, the weight of the traditional

   choice of law contacts is diminished. Courts are then compelled to look to the less

   concrete factors provided in § 6 of the Second Restatement, such as the various

   policy considerations of each interested state or country and the needs of the

   interstate justice system. Indeed, commentators have noted that the “outstanding

   feature” of the Second Restatement’s significant relationships analysis is its

   “diffuseness”:

         It has often been remarked that the result of directing courts to engage
         in interest analysis in this style is that “each case is decided as if it
         were unique and of first impression” and that “it is the Restatement’s
         very flexibility and malleability that has made it so attractive to the
         courts,” for it allows them to do whatever they want. That malleability
         of course undercuts predictability in structuring transactions that may
         be susceptible to fraudulent transfer attack, and increases litigation
         costs if such an attack is litigated.

   Kenneth C. Kettering, Codifying a Choice of Law Rule for Fraudulent Transfer, 19

   Am. Bankr. Inst. L. Rev. at 342. Assigning significant weight to the state in which

   the defendant-transferee is domiciled or has its principal place of business, as the

   Court is choosing to do here, circumvents a great deal of this uncertainty.

         Based on the foregoing, the Court finds that application of Georgia law best

   promotes predictability and uniformity.

         iii.   Application of the Second Restatement’s significant relationships test
                favors Georgia law

         Due to the nature of fraudulent transfer actions, the Second Restatement’s §

   145(2) contacts are minimally relevant. Here, the only relevant contact—the

   domicile, residence, nationality, place of incorporation, and place of business of the

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   parties—favors application of either Florida or Georgia law. Each of the Second

   Restatement’s § 6 factors likewise favors application of either Florida or Georgia

   law over Minnesota law. The second, third, and fifth factors favor equally

   application of either Florida or Georgia law. Relating to the needs of predictability

   and uniformity, the first, fourth, sixth, and eighth factors favor application of

   Georgia law over the laws of either Florida or Minnesota. Therefore, even assuming

   that Minnesota has a true interest in this action, the Court finds that, after

   conducting a full significant relationships analysis, Georgia law has the most

   significant relationship to and thus governs the Plaintiff’s fraudulent transfer

   actions.

   III.   Conclusion

          Because the Court sits in the state of Florida, Florida’s choice of law rules

   govern the Court’s choice of law analysis. When faced with a choice of law issue,

   Florida law requires that courts first determine whether a true conflict actually

   exists. If a true conflict does indeed exist, Florida law requires that courts follow the

   Second Restatement’s significant relationships test for actions sounding in tort,

   such as the Plaintiff’s fraudulent transfer actions. For the reasons discussed in

   detail above, the Court concludes that a false conflict exists here as the policies

   underlying Minnesota’s UFTA, particularly, its Charitable Contribution Exception,

   would not be furthered by application of Minnesota law. In contrast, the policies

   underlying Georgia’s UFTA would be advanced by application of Georgia law.

   Moreover, even if Minnesota had a true interest in the matter here, the Court



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   concludes, after conducting a thorough significant relationships analysis, that

   Georgia has the most significant relationship to the matter now before the Court.

   Therefore, the Court concludes that Georgia law governs the Plaintiff’s fraudulent

   transfer claims.

                                        ORDER

         Having considered the parties’ respective Motions and briefs and being other

   fully advised in the premises, the Court hereby ORDERS AND ADJUDGES that:

      1. The Plaintiff’s Motion for Partial Summary Judgment (ECF No. 63) is

         GRANTED.

      2. The Court determines that Georgia law applies to the Plaintiff’s fraudulent

         transfer claims.

      3. The Defendant’s Motion for Summary Judgment (ECF No. 70) is DENIED

         IN PART.

      4. In accordance with its August 27, 2014, Order on Motion to Strike Portions of

         Defendant’s Motion for Summary Judgment (ECF No. 78), the Court reserves

         ruling on Sections II and III of the Defendant’s Motion for Summary

         Judgment until such time as the Court has ruled on the choice of law issue

         and either: (1) fact discovery as to Sections II and III has closed and the

         parties agree to a briefing schedule relating thereto; or (2) this Court, upon

         an appropriate motion, grants leave to seek summary judgment as to

         Sections II and III.

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         ORDERED in the Southern District of Florida on March 20, 2019.




                                                                    Erik P. Kimball, Judge
                                                                    United States Bankruptcy Court
_____________________________________________________________________________

                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                      WEST PALM BEACH DIVISION

         In re:                                                 Chapter 11
                                                                CASE NO. 09-36379-EPK
         Palm Beach Finance Partners, L.P. and                  CASE NO. 09-36396-EPK
         Palm Beach Finance II, L.P.,                           (Jointly Administered)

               Debtors.
         _____________________________________/

         Barry E. Mukamal, as Liquidating Trustee,

                  Plaintiff,
         v.                                                     ADV. PROC. NO. 11-02940-EPK

         The National Christian Charitable
         Foundation, Inc., d/b/a The National
         Christian Foundation, Inc.,

               Defendant.
         _____________________________________/

                                                FINAL JUDGMENT
                  THIS MATTER comes before the Court pursuant to Fed. R. Civ. P. 58, made applicable to this

         adversary proceeding by Fed. R. Bankr. P. 7058, and this Court’s Order on Cross Motions for Summary



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   Judgment [ECF No. 241], Order on Motions for Reconsideration [ECF No. 259], and Order Granting Motion

   for Summary Judgment on Count 1 entered contemporaneously herewith.          It is ORDERED AND

   ADJUDGED that Final Judgment is entered in favor of the Defendant, and all relief requested

   by the Plaintiff is DENIED.


                                                   ###




   Copies to all parties of record.




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